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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

XIANFENG WANG,
Plaintiff,
v. C.A.: TO BE DETERMINED

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A,

Defendants.

COMPLAINT FOR PATENT INFRINGEMENT

Plaintiff Xianfeng Wang (‘Plaintiff’) hereby brings the present action against the
Partnerships and Unincorporated Associations identified in Schedule A, filed under Seal
(collectively, “Defendants”) and alleges as follows:

JURISDICTION AND VENUE
1. This Court has original subject matter jurisdiction over the claims in this action pursuant
to the provisions of the United States Patent Act, 35 U.S.C. § 1, et seq., 28 U.S.C. § 1338(a)-(b)
and 28 U.S.C. § 1331.
2. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may properly
exercise personal jurisdiction over Defendants since each of the Defendants directly targets
business activities toward consumers in the United States, including Florida, through at least the

fully interactive, commercial Internet stores operating under the Online Marketplace Accounts
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identified in Schedule A attached hereto (collectively, the “Defendant Internet Stores”).
Specifically, Defendants are reaching out to do business with Florida residents by operating one
or more commercial, interactive Defendant Internet Stores through which Florida residents can
purchase products featuring Plaintiff's patented design. Each of the Defendants has targeted sales
from Florida residents by operating online stores that offer shipping to the United States, including
Florida, accept payment in U.S. dollars and, on information and belief, has sold products featuring
Plaintiff's patented design to residents of Florida. Each of the Defendants is committing tortious
acts in Florida, is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial
injury in the State of Florida and the United States.
INTRODUCTION

3. This action has been filed by Plaintiff to combat online infringers who unfairly infringe
Plaintiff's invention and potential designs by marketing, selling, and/or distributing unlicensed
product that infringe upon Plaintiff's U.S. Patent D907360 entitled “TRAPEZOIDAL
HANDBAG’ (Exhibit A). The Defendants individually and collectively create Defendant Internet
Stores by the dozens and design them to be appearing to sell licensed products, while actually and
knowingly marketing, selling, and/or distributing infringing product. The Defendant Internet
Stores share unique identifiers, such as using the same product image, same advertising, design
elements and similarities of the infringing products offered for sale, establishing a logical
relationship between them and suggesting that Defendants’ operation arises out of the same
transaction, occurrence, or series of transactions or occurrences. Defendants attempt to avoid
liability by going to extreme lengths to conceal both their identities and the full scope and
interworking of their operation. Plaintiff is forced to file this action to combat Defendants’

infringement of its patented design. Plaintiff has been and continue to be irreparably damaged and
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harmed from the loss of its patent rights to exclude others from making, using, selling, offering for
sale, and importing its patented design as a result of Defendants’ actions and seek temporary,
preliminary, and permanent injunctive and monetary relief.
THE PARTIES

4. Plaintiff Xianfeng Wang, is individuals based in Liaoning, CHINA. Plaintiff is the owners
of U.S. Patent D907360 (Exhibit A) entitled “TRAPEZOIDAL HANDBAG”. (’360 Patent).

5. Plaintiff grants licenses to third parties and also sell products, both online and offline
through their retail stores, which feature hooks designed in alignment with the *360 Patent.
Plaintiff has established his product as the first to market and has an established reputation and

quality reviews. Plaintiff's inventive design is shown at Image 1 below.
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Image 1
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6. Plaintiff is the lawful owner of all rights, title, and interest in the *360 Patent. The ’360
Patent was duly issued on January 12, 2021. Attached hereto as Exhibit A is a true and correct
copy of the ’360 Patent.

7. Plaintiff has not granted a license or any other form of permission to Defendants with
respect to the patent design or the ’360 Patent.

8. Defendants are individuals and business entities who, upon information and belief, reside
in the People’s Republic of China or other foreign and domestic jurisdictions. Defendants conduct
business throughout the United States, including within the State of Florida and this Judicial
District, through the operation of the fully interactive, commercial online marketplaces operating
under the Defendants’ Internet Stores. Each Defendant targets the United States, including Florida,
and has offered to sell, and, on information and belief, has sold and continues to sell Infringing
Products to consumers within the United States, including the State of Florida. Defendants and
their respective infringing products are shown in Exhibit B.

9. On information and belief, Defendants are an interrelated group of infringers working in
active concert to knowingly and willfully make, use, offer for sale, sell, and/or import into the
United States for subsequent sale or use products that infringe directly and/or indirectly the ’360
Patent in the same transaction, occurrence, or series of transactions or occurrences. Tactics used
by Defendants to conceal their identities and the full scope of their operation make it virtually
impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their
network. In the event that Defendants provide additional credible information regarding their
identities, Plaintiff will take appropriate steps to amend the Complaint.

10. _—_- Plaintiff has not licensed or authorized Defendants to use the invention claimed in the ’360

Patent, and none of the Defendants are authorized retailers of Plaintiff's Products.
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11. Defendants go to great lengths to conceal their identities and often use multiple fictitious
names and addresses to register and operate their network of Defendant Internet Stores. On
information and belief, Defendants regularly create new online marketplace accounts on various
platforms using the identities listed in Schedule A to the Complaint, as well as other unknown
fictitious names and addresses. Such Defendant Internet Store registration patterns are one of many
common tactics used by the Defendants to conceal their identities, the full scope and interworking
of their operation, and to avoid being shut down.

12. Even though Defendants operate under multiple fictitious names, there are numerous
similarities among the Defendant Internet Stores. The Defendant Internet Stores include notable
common features, including the same product images, accepted payment methods, checkout
methods, meta data, illegitimate SEO tactics, lack of contact information, identically or similarly
priced items and volume sales discounts, the same incorrect grammar and misspellings, similar
hosting services, and the use of the same text and images, including content copied from Plaintiff's
original product listings.

13. In addition to operating under multiple fictitious names, Defendants in this case and
defendants in other similar cases against online infringers use a variety of other common tactics to
evade enforcement efforts. For example, infringers like Defendants will often register new online
marketplace accounts under new aliases once they receive notice of a lawsuit. Infringers also
typically ship products in small quantities via international mail to minimize detection by U.S.

Customs and Border Protection.
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14. ‘Further, infringers such as Defendants typically operate multiple credit card merchant
accounts and PayPal accounts behind layers of payment gateways so that they can continue
operation in spite of Plaintiff's enforcement efforts, such as take down notices. On information
and belief, Defendants maintain off-shore bank accounts and regularly move funds from their
PayPal accounts or other financial accounts to off-shore bank accounts outside the jurisdiction of
this Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that
offshore infringers regularly move funds from U.S.-based PayPal accounts to China-based bank
accounts outside the jurisdiction of this Court.

15. According to the Amazon store owner’s information showed on Amazon websites, parts
of the Defendants can be identified via Chinese official company registration system. They are
registered companies and actual owners of those companies located in China. Most of those
Defendants companies only have 1 or 2 employees, and the employees are also the actualowners
of the Defendant companies.

16. Defendants, without any authorization or license from Plaintiff, have knowingly and
willfully offered for sale, sold, and/or imported into the United States for subsequent resale or use
products that infringe directly and/or indirectly the ’360 Patent, and continue to do so via the
Defendant Internet Stores. Each Defendant Internet Store offers shipping to the United States,
including Florida, and, on information and belief, each Defendant has sold Infringing Products
into the United States, including Florida.

17. Defendants’ infringement of the ’360 Patent in the offering to sell, selling, or importing of

the Infringing Products was willful.
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18. Defendants’ infringement of the ’360 Patent in connection with the offering tosell, selling,
or importing of the Infringing Products, including the offering for sale and sale of Infringing

Products into Florida, is irreparably harming Plaintiff.

COUNT I
INFRINGEMENT OF UNITED STATES
DESIGN PATENT NO. D**387 (35 U.S.C. § 271)
19. Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in the
preceding paragraphs.
20. Defendants offer for sale, sell, and/or import into the United States for subsequent resale
or use Infringing Products that infringe directly and/or indirectly the ornamental design claimed in
the 360 Patent.
21. Defendants have infringed the ’360 Patent through the aforesaid acts and will continue to
do so unless enjoined by this Court. Defendants’ wrongful conduct has caused Plaintiff to suffer
irreparable harm resulting from the loss of its lawful patent rights to exclude others from making,
using, selling, offering for sale, and importing the patented inventions. Plaintiff is entitled to
injunctive relief pursuant to 35 U.S.C. § 283.
22. Unless a preliminary and permanent injunction is issued enjoining Defendants and all
others acting on in active concert therewith from infringing the ’360 Patent, Plaintiff will be greatly
and irreparably harmed.
23. Plaintiff is entitled to recover damages adequate to compensate for the infringement,

including Defendants’ profits pursuant to 35 U.S.C. § 289. Plaintiff is entitled to recover any other

damages as appropriate pursuant to 35 U.S.C. § 284.
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PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for a judgment against Defendants as follows:
1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,
confederates, and all persons acting for, with, by, through, under or in active concert with them be
temporarily, preliminarily, and permanently enjoined and restrained from:

a. offering for sale, selling, and importing any products not authorized by Plaintiff and that
include any reproduction, copy or colorable imitation of the design claimed in the Patented Design;

b. aiding, abetting, contributing to, or otherwise assisting anyone in infringing upon the
Patented Design; and

c. effecting assignments or transfers, forming new entities or associations or utilizing any
other device for the purpose of circumventing or otherwise avoiding the prohibitions set forth in
Subparagraphs (a) and (b).
2) Entry of an Order that, upon Plaintiff's request, those in privity with Defendants and those
with notice of the injunction, including, without limitation, any online marketplace platforms such
as 10ffer, eBay, AliExpress, Alibaba, etsy.com, Amazon, Wish.com, Walmart.com, and Dhgate,
web hosts, sponsored search engine or ad-word providers, credit cards, banks, merchant account
providers, third party processors and other payment processing service providers, Internet search
engines such as Google, Bing and Yahoo (collectively, the “Third Party Providers”) shall:

a. disable and cease providing services being used by Defendants, currently or in the

future, to engage in the sale of goods that infringe the Patented Design.
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b. disable and cease displaying any advertisements used by or associated with Defendants
in connection with the sale of infringing goods using the Patented Design; and
c. take all steps necessary to prevent links to the Defendant Internet Stores identified on

Schedule A from displaying in search results, including, but not limited to, removing links to the
Defendant Internet Stores from any search index;

3) That Plaintiff be awarded such damages as it shall prove at trial against Defendants that
are adequate to compensate Plaintiff for infringement of the Patented Design, and all of the profits
realized by Defendants, or others acting in concert or participation with Defendants,from
Defendants’ unauthorized use and infringement of the PatentedDesign;
4) That Plaintiff be awarded from Defendants, as a result of Defendants’ use and infringement
of the Patented Design, three times Plaintiff's therefrom and three times Defendants’ profits
therefrom, after an accounting, pursuant to 35 USC §284;

5) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and 6) Award any and

all other relief that this Court deems just and proper.

Dated: eek ( os OS

Robert M. DeWitty, pro hac vice pendjng
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